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                        UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW HAMPSHIRE

UNITED STATES OF AMERICA                    )
                                            )
               v.                           )
                                            )   No. 1:18-cr
Sergio Martinez a/k/a “Brian,”              )
a/k/a “Sergio Gabin,” a/k/a “Cacon”         )
Raulin Martinez a/k/a “Raul,” a/k/a “Chuki” )
Luz Perez DeMartinez                        )
a/k/a “Stephanie Perez”                     )
Jhonny Jose Naut Perez a/k/a “Caballero” )
Suhey Perez                                 )
FNU LNU a/k/a “Linet”                       )
Wagner Pimentel a/k/a “Juan,” a/k/a “Juani”)
Luis Angel Polanco Huma, a/k/a “Cachu”      )
FNU LNU a/k/a “Freddy,” a/k/a “El General”)
Julio J. Pizzini a/k/a “Biggie,”            )
a/k/a “Blackie,” a/k/a “Jose”               )
Jepherson Emmanuel Cabrera                  )
Edward Brailey Delacruz a/k/a “Vermont” )
Luis Antonio Salomon Polanco                )
FNU LNU using (939) 383-8282                )
Juan Rafael Tejeda-Jimenez a/k/a “Rafi”     )
Fernand V. Miranda a/k/a “Uva”              )
Alexander Noonan a/k/a “A.J.”               )
Steven Guerrero                             )
Jared Ortega-Peguero                        )
Juan Dimel Gil Castillo                     )
Ramon Gil Huma                              )
Julio Colon a/k/a “Manin”                   )
Jason Cheever                               )
Joshua Smith a/k/a “Smitty”                 )
Paul Aaron                                  )
Steven Lessard a/k/a “Shawn”                )




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                                        INDICTMENT

The Grand Jury charges:

                                       COUNT ONE
  [Conspiracy to distribute and to possess with intent to distribute controlled substances]
                        [21 U.S.C. §§ 846, 841(a), and (b)(1)(A)(vi)]

       Beginning on or about an unknown date, but at least by 2015, and continuing to at least

on or about March 21, 2018, in the District of New Hampshire and elsewhere, the defendants,

               Sergio Martinez a/k/a “Brian,” a/k/a “Sergio Gabin,” a/k/a “Cacon,”
               Raulin Martinez a/k/a “Raul,” a/k/a “Chuki,”
               Luz Perez DeMartinez, a/k/a “Stephanie Perez,”
               Jhonny Jose Naut Perez a/k/a “Caballero,”
               Suhey Perez,
               FNU LNU a/k/a “Linet,”
               Wagner Pimentel a/k/a “Juan,” a/k/a “Juani,”
               Luis Angel Polanco-Huma, a/k/a “Cachu,”
               FNU LNU a/k/a “Freddy,” a/k/a “El General,”
               Julio J. Pizzini a/k/a “Biggie,” a/k/a “Blackie,” a/k/a “Jose,”
               Jepherson Emmanuel Cabrera,
               Edward Brailey Delacruz a/k/a “Vermont,”
               Luis Antonio Salomon Polanco,
               FNU LNU using (939) 383-8282,
               Juan Rafael Tejeda-Jimenez a/k/a “Rafi,”
               Fernand V. Miranda a/k/a “Uva,”
               Alexander Noonan a/k/a “A.J.,”
               Steven Guerrero,
               Jared Ortega-Peguero,
               Juan Dimel Gil Castillo,
               Ramon Gil Huma,
               Julio Colon,
               Jason Cheever,
               Joshua Smith a/k/a “Smitty,”
               Paul Aaron, and
               Steven Lessard a/k/a “Shawn,”

knowingly and intentionally conspired, confederated, and agreed with each other, and with other

persons known and unknown to the Grand Jury, to distribute and to possess with the intent to

distribute, a controlled substance, specifically, 400 grams or more of a mixture and substance


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containing a detectable amount of N-phenyl-N-[1-(2-phenylethyl)-4-piperidinyl] propanamide,

commonly known as fentanyl, a Schedule II narcotic controlled substance.

       Sergio Martinez’s conduct as a member of the conspiracy charged above, which includes

the reasonably foreseeable conduct of other members of the narcotics conspiracy charged above,

involved 400 or more grams of a mixture and substance containing a detectable amount of N-

phenyl-N-[1-(2-phenylethyl)-4-piperidinyl] propanamide commonly known as fentanyl, in

violation of 21 U.S.C. § 841(b)(1)(A)(vi).

       Raulin Martinez’s conduct as a member of the conspiracy charged above, which includes

the reasonably foreseeable conduct of other members of the narcotics conspiracy charged above,

involved 400 or more grams of a mixture and substance containing a detectable amount of N-

phenyl-N-[1-(2-phenylethyl)-4-piperidinyl] propanamide commonly known as fentanyl, in

violation of 21 U.S.C. § 841(b)(1)(A)(vi).

       Luz Perez DeMartinez’s conduct as a member of the conspiracy charged above, which

includes the reasonably foreseeable conduct of other members of the narcotics conspiracy

charged above, involved 400 or more grams of a mixture and substance containing a detectable

amount of N-phenyl-N-[1-(2-phenylethyl)-4-piperidinyl] propanamide commonly known as

fentanyl, in violation of 21 U.S.C. § 841(b)(1)(A)(vi).

       Jhonny Jose Naut Perez’s conduct as a member of the conspiracy charged above, which

includes the reasonably foreseeable conduct of other members of the narcotics conspiracy

charged above, involved 400 or more grams of a mixture and substance containing a detectable

amount of N-phenyl-N-[1-(2-phenylethyl)-4-piperidinyl] propanamide commonly known as

fentanyl, in violation of 21 U.S.C. § 841(b)(1)(A)(vi).




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       Suhey Perez’s conduct as a member of the conspiracy charged above, which includes the

reasonably foreseeable conduct of other members of the narcotics conspiracy charged above,

involved 400 or more grams of a mixture and substance containing a detectable amount of N-

phenyl-N-[1-(2-phenylethyl)-4-piperidinyl] propanamide commonly known as fentanyl, in

violation of 21 U.S.C. § 841(b)(1)(A)(vi).

       FNU LNU a/k/a Linet’s conduct as a member of the conspiracy charged above, which

includes the reasonably foreseeable conduct of other members of the narcotics conspiracy

charged above, involved 400 or more grams of a mixture and substance containing a detectable

amount of N-phenyl-N-[1-(2-phenylethyl)-4-piperidinyl] propanamide commonly known as

fentanyl, in violation of 21 U.S.C. § 841(b)(1)(A)(vi).

       Wagner Pimentel’s conduct as a member of the conspiracy charged above, which

includes the reasonably foreseeable conduct of other members of the narcotics conspiracy

charged above, involved 400 or more grams of a mixture and substance containing a detectable

amount of N-phenyl-N-[1-(2-phenylethyl)-4-piperidinyl] propanamide commonly known as

fentanyl, in violation of 21 U.S.C. § 841(b)(1)(A)(vi).

       Luis Angel Polanco-Huma’s conduct as a member of the conspiracy charged above,

which includes the reasonably foreseeable conduct of other members of the narcotics conspiracy

charged above, involved 400 or more grams of a mixture and substance containing a detectable

amount of N-phenyl-N-[1-(2-phenylethyl)-4-piperidinyl] propanamide commonly known as

fentanyl, in violation of 21 U.S.C. § 841(b)(1)(A)(vi).

       FNU LNU a/k/a Freddy’s conduct as a member of the conspiracy charged above, which

includes the reasonably foreseeable conduct of other members of the narcotics conspiracy

charged above, involved 400 or more grams of a mixture and substance containing a detectable



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amount of N-phenyl-N-[1-(2-phenylethyl)-4-piperidinyl] propanamide commonly known as

fentanyl, in violation of 21 U.S.C. § 841(b)(1)(A)(vi).

       Julio J. Pizzini’s conduct as a member of the conspiracy charged above, which includes

the reasonably foreseeable conduct of other members of the narcotics conspiracy charged above,

involved 400 or more grams of a mixture and substance containing a detectable amount of N-

phenyl-N-[1-(2-phenylethyl)-4-piperidinyl] propanamide commonly known as fentanyl, in

violation of 21 U.S.C. § 841(b)(1)(A)(vi).

       Jepherson Emmanuel Cabrera’s conduct as a member of the conspiracy charged above,

which includes the reasonably foreseeable conduct of other members of the narcotics conspiracy

charged above, involved 400 or more grams of a mixture and substance containing a detectable

amount of N-phenyl-N-[1-(2-phenylethyl)-4-piperidinyl] propanamide commonly known as

fentanyl, in violation of 21 U.S.C. § 841(b)(1)(A)(vi).

       Edward Brailey Delacruz’s conduct as a member of the conspiracy charged above, which

includes the reasonably foreseeable conduct of other members of the narcotics conspiracy

charged above, involved 400 or more grams of a mixture and substance containing a detectable

amount of N-phenyl-N-[1-(2-phenylethyl)-4-piperidinyl] propanamide commonly known as

fentanyl, in violation of 21 U.S.C. § 841(b)(1)(A)(vi).

       Luis Antonio Salomon Polanco’s conduct as a member of the conspiracy charged above,

which includes the reasonably foreseeable conduct of other members of the narcotics conspiracy

charged above, involved 400 or more grams of a mixture and substance containing a detectable

amount of N-phenyl-N-[1-(2-phenylethyl)-4-piperidinyl] propanamide commonly known as

fentanyl, in violation of 21 U.S.C. § 841(b)(1)(A)(vi).




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       FNU LNU using (939) 383-8282’s conduct as a member of the conspiracy charged

above, which includes the reasonably foreseeable conduct of other members of the narcotics

conspiracy charged above, involved 400 or more grams of a mixture and substance containing a

detectable amount of N-phenyl-N-[1-(2-phenylethyl)-4-piperidinyl] propanamide commonly

known as fentanyl, in violation of 21 U.S.C. § 841(b)(1)(A)(vi).

       Juan Rafael Tejeda-Jimenez’s conduct as a member of the conspiracy charged above,

which includes the reasonably foreseeable conduct of other members of the narcotics conspiracy

charged above, involved 400 or more grams of a mixture and substance containing a detectable

amount of N-phenyl-N-[1-(2-phenylethyl)-4-piperidinyl] propanamide commonly known as

fentanyl, in violation of 21 U.S.C. § 841(b)(1)(A)(vi).

       Fernand V. Miranda’s conduct as a member of the conspiracy charged above, which

includes the reasonably foreseeable conduct of other members of the narcotics conspiracy

charged above, involved 400 or more grams of a mixture and substance containing a detectable

amount of N-phenyl-N-[1-(2-phenylethyl)-4-piperidinyl] propanamide commonly known as

fentanyl, in violation of 21 U.S.C. § 841(b)(1)(A)(vi).

       Alexander Noonan’s conduct as a member of the conspiracy charged above, which

includes the reasonably foreseeable conduct of other members of the narcotics conspiracy

charged above, involved 400 or more grams of a mixture and substance containing a detectable

amount of N-phenyl-N-[1-(2-phenylethyl)-4-piperidinyl] propanamide commonly known as

fentanyl, in violation of 21 U.S.C. § 841(b)(1)(A)(vi).

       Steven Guerrero’s conduct as a member of the conspiracy charged above, which includes

the reasonably foreseeable conduct of other members of the narcotics conspiracy charged above,

involved 400 or more grams of a mixture and substance containing a detectable amount of N-



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phenyl-N-[1-(2-phenylethyl)-4-piperidinyl] propanamide commonly known as fentanyl, in

violation of 21 U.S.C. § 841(b)(1)(A)(vi).

       Jared Ortega-Peguero’s conduct as a member of the conspiracy charged above, which

includes the reasonably foreseeable conduct of other members of the narcotics conspiracy

charged above, involved 400 or more grams of a mixture and substance containing a detectable

amount of N-phenyl-N-[1-(2-phenylethyl)-4-piperidinyl] propanamide commonly known as

fentanyl, in violation of 21 U.S.C. § 841(b)(1)(A)(vi).

       Juan Dimel Gil Castillo’s conduct as a member of the conspiracy charged above, which

includes the reasonably foreseeable conduct of other members of the narcotics conspiracy

charged above, involved 400 or more grams of a mixture and substance containing a detectable

amount of N-phenyl-N-[1-(2-phenylethyl)-4-piperidinyl] propanamide commonly known as

fentanyl, in violation of 21 U.S.C. § 841(b)(1)(A)(vi).

       Ramon Gil Huma’s conduct as a member of the conspiracy charged above, which

includes the reasonably foreseeable conduct of other members of the narcotics conspiracy

charged above, involved 400 or more grams of a mixture and substance containing a detectable

amount of N-phenyl-N-[1-(2-phenylethyl)-4-piperidinyl] propanamide commonly known as

fentanyl, in violation of 21 U.S.C. § 841(b)(1)(A)(vi).

       Julio Colon’s conduct as a member of the conspiracy charged above, which includes the

reasonably foreseeable conduct of other members of the narcotics conspiracy charged above,

involved 400 or more grams of a mixture and substance containing a detectable amount of N-

phenyl-N-[1-(2-phenylethyl)-4-piperidinyl] propanamide commonly known as fentanyl, in

violation of 21 U.S.C. § 841(b)(1)(A)(vi).




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       Jason Cheever’s conduct as a member of the conspiracy charged above, which includes

the reasonably foreseeable conduct of other members of the narcotics conspiracy charged above,

involved 400 or more grams of a mixture and substance containing a detectable amount of N-

phenyl-N-[1-(2-phenylethyl)-4-piperidinyl] propanamide commonly known as fentanyl, in

violation of 21 U.S.C. § 841(b)(1)(A)(vi).

       Joshua Smith’s conduct as a member of the conspiracy charged above, which includes the

reasonably foreseeable conduct of other members of the narcotics conspiracy charged above,

involved 400 or more grams of a mixture and substance containing a detectable amount of N-

phenyl-N-[1-(2-phenylethyl)-4-piperidinyl] propanamide commonly known as fentanyl, in

violation of 21 U.S.C. § 841(b)(1)(A)(vi).

       Paul Aaron’s conduct as a member of the conspiracy charged above, which includes the

reasonably foreseeable conduct of other members of the narcotics conspiracy charged above,

involved 400 or more grams of a mixture and substance containing a detectable amount of N-

phenyl-N-[1-(2-phenylethyl)-4-piperidinyl] propanamide commonly known as fentanyl, in

violation of 21 U.S.C. § 841(b)(1)(A)(vi).

       Steven Lessard’s conduct as a member of the conspiracy charged above, which includes

the reasonably foreseeable conduct of other members of the narcotics conspiracy charged above,

involved 400 or more grams of a mixture and substance containing a detectable amount of N-

phenyl-N-[1-(2-phenylethyl)-4-piperidinyl] propanamide commonly known as fentanyl, in

violation of 21 U.S.C. § 841(b)(1)(A)(vi).

       All in violation of 21 United States Code, Sections 846, 841(a), and 841(b)(1)(A)(vi).




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                  NOTICE OF CRIMINAL FORFEITURE PURSUANT TO
                                  21 U.S.C. § 853

       A. FORFEITABLE PROPERTY


       The allegations of count one of this Indictment are hereby re-alleged as if fully set forth

herein and incorporated by reference for the purpose of alleging forfeitures pursuant to 21 U.S.C.

§ 853(a)(1-2) . Upon conviction of count one, the defendants shall forfeit to the United States


       (a) any property constituting, or derived from, any proceeds the defendant obtained,

directly or indirectly, as the result of the charged violations of Title 21; and


       (b) any property in which the defendant has any interest which was used, or intended to

be used, in any manner or part, to commit, or to facilitate the commission of such violations of

Title 21.


       B. MONEY JUDGMENT


       A sum of money equivalent to the amount of proceeds obtained as a result of the

offenses, violations of Title 21.


       All in accordance with Rule 32.2(b)(1) and (c)(1), Federal Rules of Criminal Procedure.




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                                            A TRUE BILL


                                            /s/ Foreperson
                                            Grand Jury Foreperson

SCOTT W. MURRAY
United States Attorney


/s/ Georgiana L. Konesky
Georgiana L. Konesky
Assistant U.S. Attorney
                                            Dated: March 21, 2018




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